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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

In re Subpoena to Non-Party Lindsey O.
Graham in his official capacity as
United States Senator,

in the matter of:                        Case No. 1:22-cv-03027-LMM

Special Purpose Grand Jury,
Fulton County Superior Court Case No.
2022-EX-000024.

    [PROPOSED] BRIEF OF FORMER FEDERAL PROSECUTORS AS
    AMICI CURIAE IN OPPOSITION TO UNITED STATES SENATOR
       LINDSEY GRAHAM’S EXPEDITED MOTION TO QUASH

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                INTEREST AND IDENTITY OF AMICI CURIAE 1

       Amici are former federal prosecutors Donald B. Ayer, John Farmer, Renato

Mariotti, Sarah R. Saldaña, William F. Weld, and Shan Wu.

       Amici collectively have many decades of experience with subpoenas,

including to public officials, and with claims of testimonial privileges under the

Constitution. They also have substantial personal experience with the structure and

process of law enforcement investigations—once again, including in the context of

public officials. And they are represented by attorneys who include two former

Counsel to the Committee on the Judiciary of the House of Representatives, both of

whom have substantial experience with issues under the Speech or Debate Clause

and both of whom have published scholarly works on constitutional privileges.

       Given their decades of public service, their personal familiarity with the law

enforcement and constitutional issues at issue here, and their commitment to the

integrity of our democratic system, Amici maintain an active interest in the proper

resolution of the important questions raised by Senator Graham’s pending motion.




1
 No counsel for a party authored this brief in whole or in part, and no party or counsel for a party
made a monetary contribution intended to fund the preparation or submission of this brief. No
person other than Amici Curiae or their counsel made a monetary contribution to the preparation
or submission of this brief.


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                                 INTRODUCTION

      Senator Lindsey O. Graham asks this Court to issue an order categorically

precluding a Special Purpose Grand Jury convened in Fulton County from obtaining

his testimony about efforts to disrupt the 2020 election in Georgia. He bases that

request principally on the Speech or Debate Clause of the United States Constitution.

But based on our experience as federal prosecutors, his argument goes much too far.

The subpoena reflects a narrowly targeted inquiry for unique evidence that is highly

relevant to an ongoing criminal investigation, rather than a fishing expedition or an

intrusion on legislative conduct. Although it is possible that certain questions or lines

of inquiry suggested by the subpoena may indeed implicate a legislative immunity

arising from the Speech or Debate Clause, most such lines of inquiry would not. This

is apparent from a review of the subpoena and an analysis of precedent governing

the scope and methodology of the Speech or Debate Clause. Because the Senator’s

motion seeks an order comprehensively precluding the subpoena (rather than more

targeted relief)—and because the main legal argument he advances in support of that

broad request lacks merit—the motion to quash the subpoena in its entirety should

be denied and this matter should be remanded to state court for further proceedings.




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                                 BACKGROUND

      The Fulton County District Attorney has convened a Special Purpose Grand

Jury to investigate possible attempts to disrupt the lawful administration of the 2020

elections in Georgia. Dkt. 2-2, Ex. 1, at ¶ 1. As part of that targeted investigation,

the Superior Court of Fulton County has authorized a subpoena to compel Senator

Graham to appear and testify before the grand jury. See id. at ¶ 2. It specifically

found that he is a “necessary and material witness” to the events at issue. Id.

      Senator Graham’s notice of removal describes the topic of his anticipated

testimony as “two alleged phone calls” to Secretary of State Brad Raffensperger and

his staff. Dkt. 1 at 5. In Senator Graham’s account, these calls were a purely

investigative effort in his legislative capacity, and they concerned only “electoral

integrity and security as well as investigating possible irregularities before Senator

Graham voted to certify the results of the 2020 election.” Id. at 6. Of course, at the

time the calls occurred, Georgia had not yet certified its election results, there was

no alleged competing slate of Georgia electors, the Electoral College had not yet

met, and no question as to certification was in fact pending before Congress.

      Although Senator Graham describes the subpoena as focused on two phone

calls, and as redundant of testimony that could be obtained from other participants

on those calls, this view is at odds with the subpoena itself and with the factual


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findings of the Superior Court. The subpoena states that Senator Graham possesses

“unique knowledge” not only concerning “the substance of the telephone calls,” but

also “the logistics of setting up the telephone calls” and “any communications

between himself, others involved in the planning and execution of the telephone

calls, the Trump Campaign, and other known and unknown individuals involved in

the multi-state, coordinated efforts to influence the results of the November 2020

election in Georgia and elsewhere.” Dkt. 2-2, Ex. 1, at ¶ 4. The subpoena is thus

addressed to the calls and to a series of related communications with third parties, as

well as to possible broader context and conduct related to the calls. As the subpoena

recites, Senator Graham’s testimony is also “essential in that it is likely to reveal

additional sources of information regarding the subject of this investigation.” Id.

      Moreover, it is a matter of public record that there is a factual dispute among

the participants on at least one of the calls in question. Whereas Senator Graham has

described that call as one in which he inquired (entirely on his own initiative) into

Georgia’s election processes, Secretary Raffensperger has described it as one in

which Senator Graham appeared to urge him to find a way to throw out substantial

numbers of lawful ballots. See Amanda Gardner, Ga. Secretary of State Says Fellow

Republicans Are Pressuring Him to Find Ways to Exclude Ballots, Washington Post,




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Nov. 16, 2020.2 This accords with the subpoena’s statement that Senator Graham

“questioned Secretary Raffensperger and his staff about reexamining certain

absentee ballots cast in Georgia in order to explore the possibility of a more

favorable outcome for former President Donald J. Trump.” Dkt. 2-2, Ex. 1, at ¶ 3. It

also accords with the subpoena’s premise that communications between Senator

Graham and third parties—as well as an understanding of the Senator’s associated

public statements—may bear on whether the call was indeed a legislative act.

       Ultimately, Senator Graham accepted service and filed a notice of removal.

He now asks the Court to quash the subpoena in its entirety. This brief explains why

his principal contentions under the Speech or Debate Clause lack merit.

                                      ARGUMENT

 THE MOTION TO QUASH THE SUBPOENA IN ITS ENTIRETY BASED
    ON THE SPEECH OR DEBATE CLAUSE SHOULD BE DENIED

       Without offering any evidence, or addressing any specific topics or questions,

Senator Graham contends that the subpoena must be quashed in its entirety under

the Speech or Debate Clause. In making that argument, he asserts that his calls to

Georgia officials in the weeks following the election were legislative acts, and that

any inquiry into any aspect of his conduct thus offends the Constitution. As we

2
  https://www.washingtonpost.com/politics/brad-raffensperger-georgia-
vote/2020/11/16/6b6cb2f4-283e-11eb-8fa2-06e7cbb145c0_story.html.


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demonstrate below, this argument faces numerous difficulties: it fails to account for

important limits on the scope of the legislative privilege created by the Speech or

Debate Clause; it fails to adhere to key methodological precepts of Speech or Debate

Clause analysis; it fails to recognize that the subpoena seeks testimony about several

categories of conduct beyond the scope of the Clause; and it overlooks public factual

disputes, as well as factual representations set forth in the subpoena itself. For these

reasons, the motion to quash based on legislative privilege cannot be sustained.

      A.     Legislative Privilege Does Not Apply to Non-Legislative Acts

      The Speech or Debate Clause provides that “for any Speech or Debate in

Either House,” Senators and Representatives “shall not be questioned in any other

Place.” U.S. Const., art. I, § 6, cl. 1. The Clause protects “against inquiry into acts

that occur in the regular course of the legislative process and into the motivation for

those acts.” United States v. Brewster, 408 U.S. 501, 525 (1972). Thus, a legislator

cannot be compelled to testify about matters covered by the privilege. See Brown &

Williamson Tobacco Corp. v. Williams, 62 F.3d 408, 418 (D.C. Cir. 1995).

      But “[o]ur speech or debate privilege was designed to preserve legislative

independence, not supremacy.” Brewster, 448 U.S. at 508. Therefore, the privilege

is limited solely to legislative acts “generally done in a session of the House by one

of its members in relation to the business before it.” Kilbourn v. Thompson, 103 U.S.


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168, 204 (1881); see also Gravel v. United States, 408 U.S. 606, 620-21 (1972)

(explaining that legislative acts include committee reports, resolutions, and votes).

      This is a significant limitation. As the Supreme Court has emphasized,

“legislative acts are not all-encompassing.” Id. at 625. “Members of the Congress

engage in many activities other than the purely legislative activities protected by the

Speech or Debate Clause.” Brewster, 408 U.S. at 501; accord Doe v. McMillan, 412

U.S. 306, 313 (1973) (“[E]verything a Member of Congress may regularly do is not

a legislative act within the protection of the Speech or Debate Clause.”). Put

differently, “the Speech or Debate Clause protects conduct that is integral to the

legislative process, not a Member’s legislative goals.” Fields v. Off. of Eddie Bernice

Johnson, 459 F.3d 1, 12 (D.C. Cir. 2006). Consistent with this understanding, the

Supreme Court has never “treated the Clause as protecting all conduct relating to the

legislative process.” Brewster, 408 U.S. at 515. Indeed, it has rejected a “sweeping

reading” under which “there are few activities in which a legislator engages that he

would be unable somehow to ‘relate’ to the legislative process.” Id. at 516.

      As we discuss at greater length below, the Supreme Court has implemented

these principles by recognizing a wide range of non-legislative acts by Members of

Congress that may properly be explored through testimonial subpoenas. Such non-

legislative acts include several categories of conduct squarely implicated by the


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subpoena here at issue: efforts to cajole or influence official behavior by executive

officials; public statements and press releases; communications with outside interest

groups, political campaigns, and lobbyists; and the arranging of meetings. See infra

at Part C. “Although these are entirely legitimate activities, they are political in

nature rather than legislative.” Brewster, 408 U.S. at 512. Even if they are otherwise

“appropriate,” they do not have “the protection afforded by the Speech or Debate

Clause.” Id.; accord Fowler-Nash v. Dem. Caucus of Pa. House of Rep., 469 F.3d

328, 336-37 (3d Cir. 2006) (“[S]imply because a Senator performs certain duties in

his official capacity does not make those duties legislative.”). Thus, to the extent the

subpoena issued by the District Attorney seeks testimony from Senator Graham

concerning conduct that ranks as non-legislative, legislative privilege does not apply.

      B.     Legislative Privilege is a Fact-Intensive, Question-Specific Rule

      For the reasons just given, the ultimate issue here is whether the subpoena

seeks testimony concerning legislative or non-legislative acts. Before addressing that

issue, however, we must describe the methodological principles that structure the

inquiry. There are three key points, each of which poses a substantial difficulty for

Senator Graham, who seeks a broad order quashing the subpoena in its entirety.

      The first point concerns the burden of proof. As the Third Circuit has held,

“[a] Member seeking to invoke the Clause’s protections bears ‘the burden of


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establishing the applicability of legislative immunity . . . by a preponderance of the

evidence.’” United States v. Menendez, 831 F.3d 155, 165 (3d Cir. 2016) (citations

omitted); see also Favors v. Cuomo, No. 11 Civ. 5632, 2015 WL 7075960, at *4

(E.D.N.Y. Feb. 8, 2015). That principle is significant here because Senator Graham

relies only on the text of the subpoena itself and a few news reports. See Dkt. 2-1

(Motion to Quash) at 13-14. He otherwise offers no evidence to support his argument

that all conduct covered by the subpoena is legislative. But the substance and import

of his statements on calls with Georgia officials is itself disputed. See supra at 4.

And there is simply no other evidence before the Court about the circumstances

surrounding those calls, the logistics of how they were arranged, the existence or

nature of any related communications between himself and third parties (including

such non-legislative third parties as journalists or persons associated with a political

campaign), or related communications between himself and others suspected to have

engaged in efforts to affect Georgia’s election results. Given that Senator Graham

bears the burden to establish his entitlement to legislative immunity—and given that

he asks only for quashal in the entirety—he must affirmatively prove that everything

covered by the subpoena is a legislative act. But he makes little effort to do so.

      This leads to the second point, which is that context and content sometimes

control whether conduct is legislative or non-legislative in nature. In some cases, it


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is facially obvious whether an act qualifies as legislative—e.g., casting a vote on the

Senate floor (yes) or speeding on the highway (no). In some cases, however, a closer

factual analysis must be undertaken, a point that is particularly well explained in

Government of the Virgin Islands v. Lee, 775 F.2d 514 (3d Cir. 1985), and United

States v. Menendez, 831 F.3d 155 (3d Cir. 2016). See also Gravel, 408 U.S. at 625

(“That Senators generally perform certain acts in their official capacity as Senators

does not necessarily make all such acts legislative in nature.”). When a Member of

Congress speaks to a government official, or takes a meeting, the applicability of

legislative privilege is highly fact dependent. See Menendez, 831 F.3d at 168. In such

cases, courts do not merely accept conclusory assertions from legislators that they

had a legislative goal, or that the act was of a kind that might in some cases qualify

as legislative. See id. at 166-68. Rather, they apply the Speech or Debate Clause only

“once it is determined that members are acting within the ‘legitimate legislative

sphere.’” Lee, 775 F.2d at 522 (citation omitted); accord United States v. Helstoski,

442 U.S. 477 (1979). Here, Senator Graham fails to provide a fact-specific showing

that his conduct was indeed legislative, notwithstanding the fact (explained below)

that much of it appears to be non-legislative or partly non-legislative in character.

      The third and final methodological point concerns the specificity of legislative

privilege analysis. Where a subpoena covers both legislative and non-legislative


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acts, it may be enforced as to the non-legislative acts—subject to proper safeguards

for privileged topics. See, e.g., In re Grand Jury Investigation, 587 F.2d 589, 597

(3d Cir. 1978); SEC v. Comm. on Ways & Means, 161 F. Supp. 3d 199, 245-46

(S.D.N.Y. 2015); Jewish War Veterans of the U.S. of Am., Inc. v. Gates, 506 F. Supp.

2d 30, 58 (D.D.C. 2007). Thus, only when a subpoena seeks exclusively (or

overwhelmingly) legislative information is it proper to grant a categorical motion to

quash. Here, the subpoena covers at least a meaningful quantum of conduct that is

not legislative in character, and so Senator Graham’s motion to quash is overbroad.

      C.     The Subpoena Seeks Testimony About Non-Legislative Acts

      Senator Graham’s motion rests on the premise that every subject about which

the subpoena seeks testimony is shielded by legislative privilege. In other words, he

would have this Court hold that virtually every aspect of his behavior relating to the

2020 Georgia election was legislative in character—including making calls to

Georgia election officials, arranging those calls, communicating with third parties

about the planning and execution of those calls, making public statements about his

calls and conduct respecting the Georgia election, and communicating with the

Trump Campaign and other parties about any efforts to influence the election results.




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      That categorical claim is at odds with the law of legislative privilege and with

the applicable methods of analysis. Here, we will identify four respects in which the

subpoena seeks testimony that appears to concern non-legislative conduct.

      1. Cajoling. It is black letter law that “contacting an executive agency in order

to influence its conduct” is not a legislative act. Jewish War Veterans, 54 F. Supp.

2d at 54; see also id. at 59 (holding that this same principle applies to efforts to sway

local officials). As the Supreme Court explained in Gravel, Members of Congress

“may cajole, and exhort with respect to the administration of a federal statute—but

such conduct, though generally done, is not protected legislative activity.” 408 U.S.

at 606. Although Members of Congress may act within their legislative sphere when

contacting officials for purely investigative purposes, communications that include

efforts to cajole, influence, exhort, or affect official behavior are not protected by

legislative privilege. See United States v. Johnson, 383 U.S. 169, 172 (1966);

Chastain v. Sundquist, 833 F.2d 311, 314-15 (D.C. Cir. 1987); Payne v. District of

Columbia, 859 F. Supp. 2d 125 (D.D.C. 2012); SEC, 161 F. Supp. 3d at 245-46.

      Here, there is a public factual dispute on this very point. Senator Graham

maintains that his calls to Georgia officials were purely investigative and included

only requests for information. See Mot. at 15. But on these calls, Senator Graham

allegedly made targeted points about tossing out substantial numbers of legally cast


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ballots. And Secretary Raffensperger understood Senator Graham’s statements to

this effect as more than inquiries: “It sure looked like he was wanting to go down

that road.” See Amy Gardner, Ga. secretary of state says fellow Republicans are

pressuring him to find ways to exclude ballots, Washington Post (Nov. 16, 2020).

Two other officials who were on this call “told ProPublica that the secretary of

state’s account was accurate and that they were appalled by Graham’s request.”

Jessica Huseman and Mike Spies, Trump Campaign Officials Started Pressuring

Georgia’s Secretary of State Long Before the Election, ProPublica (Nov. 18, 2020)

(emphasis added). It is a fact question whether Senator Graham’s conduct on these

calls included any express or implied cajoling (or requests) of Georgia election

officials to carry out their responsibilities in a particular manner. Without a factual

finding on that point, which goes to the heart of the Speech or Debate Clause inquiry,

there is no basis for concluding that Senator Graham’s conduct is privileged. It is

therefore proper to investigate this issue to ascertain the applicability (or not) of the

legislative privilege that the Senator seeks to invoke. See Lee, 775 F.2d 514.

      2. Public Statements. In Hutchinson v. Proxmire, the Supreme Court held

that public statements—issued outside official congressional proceedings—are not

legislative. See 443 U.S. 111, 127-28 (1979). That is true even when such public

statements may have “a significant impact on the other Senators” and when they are


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issued in furtherance of the “informing function” of Congress. See id. at 130-133.

Because “[n]ewsletters and press releases” are “primarily means of informing those

outside the legislative forum” and “represent the views and will of a single Member,”

they are “not entitled to the protection of the Speech or Debate Clause.” Id. at 133.

      Here, Senator Graham has issued numerous public statements about his calls

with Georgia officials, and in so doing described his course of conduct respecting

the election in Georgia. E.g., Gardner, supra (“In an interview on Capitol Hill on

Monday evening, Graham denied that he had suggested that Raffensperger toss legal

ballots, calling that characterization ‘ridiculous.’”). These statements are beyond any

privilege. Because the subpoena seeks testimony about them, Senator Graham lacks

a basis to quash it. See Jewish War Veterans, 506 F. Supp. 2d at 58 (“[T]he Members

engaged in various [] activities that were political rather than legislative in nature,

including media appearances and speeches delivered outside the Congress”); Texas

v. Holder, No. 12 Civ. 128, 2012 WL 13070060, at *3 (D.D.C. June 5, 2012)

(“[V]erifying that a public speech was given, where it was given, and even why it

was given are all permissible questions that do not involve legislative activity.”).

      3. Connections to Third Parties. In general, “communications between

legislators and constituents, lobbyists, and interest groups are not entitled to

protection under a legislative privilege.” Texas, 2012 WL 13070060, at *2; accord


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Bastien v. Off. of Senator Ben Nighthorse Campbell, 390 F.3d 1301, 1316 (10th Cir.

2004); NAACP v. E. Ramapo Cent. Sch. Dist., No. 17 Civ. 8943, 2018 WL

11260468, at *6 (S.D.N.Y. Apr. 27, 2018); Lee v. Va. State Bd. of Elections, No.

3:15 Civ. 357, 2015 WL 9461505, at *7 (E.D. Va. Dec. 23, 2015); ACORN v. Cnty.

of Nassau, No. 5 Civ. 2301, 2007 WL 2815810, at *6 (E.D.N.Y. Sept. 25, 2007).3

Similarly, substantial authority supports the view that when Members of Congress

engage in campaign activity—for themselves or others—they are not acting within

the scope of their duties as Members, let alone engaging in legislative acts shielded

by a constitutional privilege. See ECF No. 33, United States’ Response to Defendant

Mo Brooks’s Petition to Certify He Was Acting Within the Scope of his Office or

Employment, Swalwell v. Trump, 1:21 Civ. 586 at 9-14 (D.D.C. July 27, 2021)

(summarizing judicial, executive branch, and legislative authority). 4




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  Several of these cases address the common law privilege enjoyed by state legislators, which “is
similar in scope and object to the immunity enjoyed by federal legislators under the Speech or
Debate Clause.” Nat’l Ass’n of Soc. Workers v. Harwood, 69 F.3d 622, 629 (1st Cir. 1995). Indeed,
the Supreme Court has “acknowledged that the immunities enjoyed by federal and state legislators
are essentially coterminous,” Id.; see also Larsen v. Senate of Com. of Pa., 152 F.3d 240, 249 (3d
Cir. 1998); Favors v. Cuomo, 285 F.R.D. 187, 208 (E.D.N.Y. 2012), though in limited
circumstances (most notably including redistricting) state legislators receive less deference, see,
e.g., Bethune-Hill v. Virginia State Bd. of Elections, 114 F. Supp. 3d 323, 336-37 (E.D. Va. 2015).
4
 Available at https://www.justsecurity.org/wp-content/uploads/2022/07/january-6-clearinghouse-
DOJ-Westfall-Mo-brooks-THE-UNITED-STATES-RESPONSE.pdf.


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      Here, the subpoena states that Senator Graham possesses unique knowledge

concerning “any communications between himself, others involved in the planning

and execution of the telephone calls, the Trump Campaign, and other known and

unknown individuals” with relevant information. To the extent the subpoena seeks

testimony about Senator Graham’s communications with interest groups, his own

constituents, Trump campaign officials, journalists, or other third parties related to

the subject of the District Attorney’s investigation, Senator Graham likely lacks any

valid claim of legislative privilege (and he has offered no evidence to the contrary).

      4. Arranging Meetings. “[M]eeting arrangements are only ‘casually or

incidentally related to legislative affairs’ and are not part of the legislative process

itself.” U.S. Merit Sys. Prot. Bd. v. McEntee, No. 07 Civ. 1936, 2007 WL 9780552,

at *3 (D. Md. Dec. 13, 2007) (quoting Brewster, 408 U.S. at 528). Consistent with

this principle, the Speech or Debate Clause does not offer a basis to quash a subpoena

seeking testimony about the logistics involved in calls to Georgia officials.

                             *      *      *      *     *

       For all these reasons, Senator Graham’s motion to quash the subpoena in its

entirety on the basis of the Speech or Debate Clause cannot be sustained. He has not

carried his evidentiary burden to affirmatively demonstrate that the subpoena seeks

testimony about solely legislative acts. Nor has he demonstrated in a fact-intensive,


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question-specific manner that the subpoena is barred by legislative privilege. And a

close study of the subpoena—as measured against precedent—indicates substantial

reason to believe that Senator Graham lacks a valid privilege defense to most of it.

      D.     The Motion to Quash Should be Denied and this Matter Remanded
             to State Court for Further Proceedings and Factual Development

      Senator Graham removed this matter to federal court under the federal officer

removal statute, 28 U.S.C. § 1442(a)(1). To justify removal under that statute, a

federal officer must demonstrate that the legal proceeding at issue is “for any act

under color of such office” and that he has a colorable defense under federal law.

Florida v. Cohen, 887 F.2d 1451, 1453-54 (11th Cir. 1989) (per curiam). The “under

color of federal office” requirement must be met by “show[ing] ‘a causal connection

between what the officer has done under asserted official authority and the action

against him.’” Caver v. Cent. Ala. Elec. Coop., 845 F.3d 1135, 1142 (11th Cir. 2017)

(quoting Magnin v. Teledyne Cont’l Motors, 91 F.3d 1424, 1427 (11th Cir. 1996)).

      Invocation of Section 1442(a)(1) can burden federalism. In this case, for

example, Georgia has a powerful interest in enforcing its own criminal laws in its

own courts. See Willingham v. Morgan, 395 U.S. 402, 409 n.4 (1969); see Georgia

v. Waller, 660 F. Supp. 952, 954 (M.D. Ga. 1987); Application of Donovan, 601 F.

Supp. 574, 578 (S.D.N.Y. 1985). That interest is enhanced by Georgia’s sovereign

role and responsibility in carrying out presidential elections. See U.S. Const. art. II,

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§ 1, cl. 2. Put simply, Georgia’s interest in enforcing criminal laws is at its zenith in

the context of a state investigation into crimes involving the presidential election,

because the state’s role in such elections is enshrined in and entrusted to it by the

Constitution. See Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (“A State indisputably

has a compelling interest in preserving the integrity of its election process.”). So the

Court should seek to sustain a balance between competing state and federal interests.

      In removing this matter, Senator Graham asked the Court to enter an order

“quash[ing] the ex parte Certificate and Subpoena purporting to require Senator

Graham’s appearance in any Georgia special grand jury proceedings.” Mot. at 25.

As we have demonstrated, the principal contention he offers in support of that broad

request is legally deficient: his argument for categorical immunity under the Speech

or Debate Clause is objectively meritless as to certain subjects addressed by the

subpoena, and raises only further factual and legal disputes as to other subjects. The

difficulties in Senator Graham’s position are further exacerbated by his decision not

to offer any evidence—and by continuing uncertainty about which questions exactly

may be posed to Senator Graham in the underlying state grand jury proceedings.

      For these reasons, the proper course is the one that the Court has already

identified in a recent proceeding involving Congressman Jody Hice. See Fulton

County Special Purpose Grand Jury v. Hice, No. 22 Civ. 2794 (N.D. Ga. July 25,


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2022). Specifically, assuming the Court concludes that Senator Graham’s alternative

arguments lack merit, the Court should deny the motion to quash without prejudice

and then remand: “The record should be more fully developed before the Court can

address the applicability of these potential immunities to specific questions.” See id.

at Dkt. 11; see also id., Dkt. 14 (Transcript) at 44 (“It’s just we have to step through

things in a very careful way to maintain jurisdiction and make sure that the record is

good and that we all have full and complete information to make good decisions.”).

Once the matter is returned to state court, Senator Graham will remain free to again

file a notice of removal and seek targeted relief from this Court in the event that any

particular questions or lines of inquiry implicate federal defenses. See id. at 31

(“[W]hen the Congressman goes to the Grand Jury and is asked a question that then

deals with these issues, then you then have to file a motion for me to deal with those

particular questions. . . . But you would have to start that by removing those

questions basically to me. So then I would get jurisdiction over it again.”). And in

so doing, Senator Graham (and the District Attorney) may benefit from any legal

guidance that the Court offers with respect to the proper applicability of federal law.




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                                 CONCLUSION

      Amici respectfully submit that the Court should deny the motion to quash

based on the Speech or Debate Clause, and should remand this matter to state court.

Dated: August 4, 2022                        Respectfully submitted,


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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that this brief has been

prepared in Times New Roman, 14-point font, one of the fonts and point selections

approved by the Court in LR 5.1(C).

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